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     The Law Office of Olaf W. Hedberg
 1   Olaf W. Hedberg, State Bar #151082
     901 H St., Suite 673
 2   Sacramento, California 95814
     (916) 447-1192 office
 3   1-412-774-3537 fax
     o.hedberg@sbcglobal.net
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 9        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

10                                             CALIFORNIA

11
                                                       Case Number: 2:12-CR-0048 TLN
12   THE UNITED STAES OF AMERICA
                                                       STIPULATION AND ORDER FOR
13   V.                                                CONTINUANCE OF STATUS
                                                       CONFERENCE
14   PAVEL YAKIMENKO et al.

15                                                     DATE: 4/10/14
                                                       TIME: 9:30 a.m.
16                                                     JUDGE: Hon. Troy L. Nunley
17

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19

20          Plaintiff United States of America, by and through its counsel of record, and the
21   defendants, by and through each counsel of record, hereby stipulate as follows:
22          1.       By this stipulation, the defendants now move to continue the status conference
23   until June 19, 2014, at 9:30 a.m., and to exclude time between April 10, 2014, and June 19, 2014,
24   under Local Code T4. Plaintiff does not oppose this request.
25
            2.       The parties agree and stipulate, and request that the Court find the following:

                                                       1
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 1          a.       The government has provided additional discovery from other cases associated

 2   with this case that consists of more than 10,000 pages of investigative reports and related

 3   documents in electronic form. All of this discovery has been either produced directly to counsel
 4   and/or made available for inspection and copying.
 5          b.       Counsel for the defendants desire additional time to consult with their respective
 6   clients, to review the current charges, to conduct investigation and research related to the
 7   charges, to review and copy discovery for this matter, to discuss potential resolutions with their
 8   clients, to prepare pretrial motions, and to otherwise prepare for trial.
 9
            c.       Counsel for the defendants believe that failure to grant the above-requested
10
     continuance would deny them the reasonable time necessary for effective preparation, taking into
11
     account the exercise of due diligence.
12
            d.       The government does not object to the continuance.
13
            e.       Based on the above-stated findings, the ends of justice served by continuing the
14
     case as requested outweigh the interest of the public and the defendants in a trial within the
15
     original date prescribed by the Speedy Trial Act.
16
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
17
     et seq., within which trial must commence, the time period of April 19, 2013, to June 19, 2014,
18
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
19
     because it results from a continuance granted by the Court at defendant’s request on the basis of
20
     the Court's finding that the ends of justice served by taking such action outweigh the best interest
21
     of the public and the defendants in a speedy trial.
22
            4.       Nothing in this stipulation and order shall preclude a finding that other provisions
23
     of the Speedy Trial Act dictate that additional time periods are excludable from the period within
24
     which a trial must commence.
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 1   IT IS SO STIPULATED

 2   Respectfully submitted April 8, 2014,

 3   /s/ Olaf W. Hedberg
     Olaf W. Hedberg
 4
     Attorney for Pavel Yakimenko
 5
     /s/David Fischer
 6    David Fischer
     Attorney for Nikolay Yakimenko
 7
     /s/Stanley Kubochi
 8    Stanley Kubochi
     Attorney for Yuriy Kaltachi
 9
     /s/Timothy Zindel
10
     Timothy Zindel
     Attorney for Svetlana Kramarenko
11

12   /s/ Michele Beckwith
      Michele Beckwith
13   Assistant United States Attorney

14

15                                               ORDER
16
            GOOD CAUSE APPEARING, it is hereby ordered that the April 10, 2014 status
17
     conference be continued to June 19, 2014 at 9:30 a.m. I find that the ends of justice warrant
18
     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
19   for effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT IS
20   FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (ii) and

21   Local Code T4 from the date of this order to June 19, 2014.
            IT IS SO ORDERED.
22

23   Dated: April 10, 2014

24
                                                         Troy L. Nunley
25                                                       United States District Judge


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